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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF TENNESSEE
                                   MEMPHIS DIVISION

LISA BROOKS,

      Plaintiff,                                  CASE NO.:

-v-

WESTLAKE FINANCIAL SERVICES,

      Defendant.
                                       /

                    COMPLAINT AND DEMAND FOR JURY TRIAL

         COMES NOW, Plaintiff, Lisa Brooks, by and through the undersigned counsel,

and sues Defendant, WESTLAKE FINANCIAL SERVICES, and in support thereof

respectfully alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227

et seq. (“TCPA”).

                                     INTRODUCTION

          1.       The TCPA was enacted to prevent companies like Defendant from

invading American citizen’s privacy and to prevent abusive “robo-calls.”

          2.       “The TCPA is designed to protect individual consumers from receiving

intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, 132 S. Ct. 740

(2012).

          3.       “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the

scourge of modern civilization, they wake us up in the morning; they interrupt our dinner

at night; they force the sick and elderly out of bed; they hound us until we want to rip the

telephone out of the wall.” 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably


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intended to give telephone subscribers another option: telling the auto-dialers to simply

stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 1256(11th Cir. 2014).

       4.       According    to   the   Federal   Communications     Commission      (FCC),

“Unwanted calls and texts are the number one complaint to the FCC.               There are

thousands of complaints to the FCC every month on both telemarketing and robo-calls.

The FCC received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler

Proposal to Protect and Empower Consumers Against Unwanted Robo-calls, Texts to

Wireless     Phones,   Federal    Communications      Commission,     (May     27,   2015),

https://apps.fcc.gov/edocs_public/attachmatch/DOC-333676A1.pdf.

                             JURISDICTION AND VENUE


        5.      Jurisdiction and venue for purposes of this action are appropriate and

conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves

violations of the TCPA.

        6.      Subject matter jurisdiction, federal question jurisdiction, for purposes of

this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the

district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of

47 U.S.C. § 227(b)(1)(A)(iii). See Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012)

and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014).

       7.       The alleged violations described herein occurred in Shelby County,

Tennessee. Accordingly, venue is appropriate with this Court under 28 U.S.C.




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§1391(b)(2), as it is the judicial district in which a substantial part of the events or

omissions giving rise to this action occurred.

                               FACTUAL ALLEGATIONS

       8.      Plaintiff is a natural person, and citizen of the State of Tennessee, residing

in Shelby County, Tennessee.

       9.      Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755

F. 3d 1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11th

Cir. 2014).

       10.     Defendant is a corporation which was formed in California with its

principal place of business located at 4751 Wilshire Blvd Suite 100, Los Angeles,

California 90010, and which conducts business in the State of Florida through its

registered agent, Corporate Creations Network Inc., located at 11380 Prosperity Farms

Road, Suite 221E Palm Beach Gardens, Florida 33410.

       11.     Defendant called Plaintiff approximately two-hundred (200) times in an

attempt to collect an alleged debt.

       12.     Defendant attempted to collect an alleged debt from Plaintiff by this

campaign of telephone calls.

       13.     Upon information and belief, some or all of the calls Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing

system” which has the capacity to store or produce telephone numbers to be called, using

a random or sequential number generator (including but not limited to a predictive dialer)

or an artificial or prerecorded voice; and to dial such numbers as specified by 47 U.S.C §



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227(a)(1) (hereinafter “auto-dialer calls”). Plaintiff will testify that her knew it was an

auto-dialer because of the vast number of calls she received and because she heard a

pause when she answered her phone before a voice came on the line from Defendant.

       14.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (901) ***-2540, and was the called party and recipient of Defendant’s calls.

       15.     Upon receipt of the calls from Defendant, Plaintiff’s caller ID identified

the calls were being initiated from, but not limited to, the following telephone number:

(901) 313-0737.

       16.     On several occasions over the last four (4) years, Plaintiff instructed

Defendant’s agent(s) to stop calling her cellular telephone.

       17.     In or about January 2018, Plaintiff answered a call from Defendant to her

aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

Defendant and informed the agent/representative that the calls to her cellular telephone

were harassing and demanded that they cease calling her cellular telephone number.

       18.     Each subsequent call Defendant made to Plaintiff’s aforementioned

cellular telephone number was done without the “express consent” of Plaintiff.

       19.     Each subsequent call Defendant made to Plaintiff’s aforementioned

cellular telephone number was knowing and willful.

       20.     Despite clearly and unequivocally revoking any consent Defendant may

have believed they had to call Plaintiff on her cellular telephone, Defendant continues to

place automated calls to Plaintiff.




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        21.    Plaintiff’s numerous conversations with Defendant’s agent/representative

over the telephone wherein she demanded a cessation of calls were in vain as Defendant

continues to bombard her with automated calls unabated.

        22.    Defendant intentionally harassed and abused Plaintiff on numerous

occasions by calling several times during one day, and on back to back days, with such

frequency as can reasonably be expected to harass.

        23.    Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice to individuals just as they did to Plaintiff’s

cellular telephone in this case.

        24.    Defendant has a corporate policy to use an automatic telephone dialing

system or a pre-recorded or artificial voice, just as they did to the Plaintiff’s cellular

telephone in this case, with no way for the consumer, or Defendant to remove the

number.

        25.    Defendant’s corporate policy is structured so as to continue to call

individuals like Plaintiff, despite these individuals explaining to Defendant they do not

wish to be called.

        26.    Defendant has numerous other federal lawsuits pending against them

alleging similar violations as stated in this Complaint.

        27.    Defendant has numerous complaints against it across the country asserting

that its automatic telephone dialing system continues to call despite being requested to

stop.




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        28.    Defendant has had numerous complaints against it from consumers across

the country asking to not be called, however Defendant continues to call these

individuals.

        29.    Defendant’s corporate policy provided no means for Plaintiff to have

Plaintiff’s number removed from Defendant call list.

        30.    Defendant has a corporate policy to harass and abuse individuals despite

actual knowledge the called parties do not wish to be called.

        31.    Not one of Defendant’s telephone calls placed to Plaintiff were for

“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

        32.    Defendant willfully and/or knowingly violated the TCPA with respect to

Plaintiff.

        33.    From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the

intrusion upon her right of seclusion.

        34.    From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of her cellular

telephone line and cellular phone by unwelcome calls, making the phone unavailable for

legitimate callers or outgoing calls while the phone was ringing from Defendant call.

        35.    From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of

her time. For calls she answered, the time she spent on the call was unnecessary as she

repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste



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time to unlock the phone and deal with missed call notifications and call logs that reflect

the unwanted calls. This also impaired the usefulness of these features of Plaintiff’s

cellular phone, which are designed to inform the user of important missed

communications.

       36.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone was an injury in the form of a nuisance and annoyance to the

Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of

answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the

phone and deal with missed call notifications and call logs that reflected the unwanted

calls. This also impaired the usefulness of these features of Plaintiff’s cellular phone,

which are designed to inform the user of important missed communications.

       37.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiff’s cellular telephone’s battery power.

       38.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone where a voice message was left which occupied space in

Plaintiff’s telephone or network.

       39.     Each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel,

namely her cellular phone and her cellular phone services.




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        40.     As a result of the calls described above, Plaintiff suffered an invasion of

privacy. Plaintiff was also affect in a personal and individualized way by stress, anxiety,

and depression.

                                            COUNT I
                                     (Violation of the TCPA)

        41.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty

(40) as if fully set forth herein.

        42.     Defendant willfully violated the TCPA with respect to Plaintiff,

specifically for each of the auto-dialer calls made to Plaintiff’s cellular telephone after

Plaintiff notified Defendant that Plaintiff wished for the calls to stop

        43.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s

cellular telephone using an automatic telephone dialing system or prerecorded or artificial

voice without Plaintiff’s prior express consent in violation of federal law, including 47

U.S.C § 227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against WESTLAKE FINANCIAL SERVICES for statutory

damages, punitive damages, actual damages, treble damages, enjoinder from further

violations of these parts and any other such relief the court may deem just and proper.




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              Respectfully submitted,




                                    /s/ Frank H. Kerney lll
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